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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 SJUNDE AP-FONDEN and THE CLEVELAND
 BAKERS AND TEAMSTERS PENSION FUND,
 individually and on behalf of all others similarly
 situated,
                                                         Case No. 1:17-cv-8457 (JMF) (GWG)
                        Plaintiffs,

                v.

 GENERAL ELECTRIC COMPANY and
 JEFFREY S. BORNSTEIN,

                        Defendants.


                            STIPULATED PROTECTIVE ORDER

1.     PURPOSES AND LIMITATIONS

       Discovery requests and subpoenas served in the above-captioned action (the “Action”) are

likely to involve the production or disclosure of certain confidential, proprietary, private, or trade

secrets information within the meaning of Fed. R. Civ. P. 26(c), or other private or competitively

sensitive information for which protection from public disclosure and from use for any purpose

other than prosecuting or defending this Action is warranted. Accordingly, the Parties hereby

stipulate to and petition the Court to enter the following Stipulated Protective Order (“Order”)

pursuant to Fed. R. Civ. P. 26(c) and Fed. R. Evid. 502(d). This Order does not confer blanket

protection on all disclosures or responses to discovery; the protection it affords from public

disclosure and use extends only to the categories of information or items that are entitled to

confidential treatment under the applicable legal principles.
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2.     DEFINITIONS

       2.1     Confidential Material: Any Producing Party may, subject to the provisions of this

Order, designate as “Confidential” any Discovery Material that the Producing Party in good faith

believes contains non-public, confidential, proprietary, business, financial, or commercially or

personally sensitive information that requires the protections provided in this Order.

       2.2     Counsel (without qualifier): Outside Counsel and In-House Counsel.

       2.3     Designating Party: Any Party or Non-Party that designates Discovery Material as

“Confidential” or “Highly Confidential.”

       2.4     Discovery Material: All items or information, regardless of the medium or manner

generated, stored, or maintained, including, among other things, documents, testimony,

interrogatory responses, transcripts, depositions and deposition exhibits, responses to requests to

admit, recorded or graphic matter, electronically stored information, tangible things, and/or other

information produced, given, exchanged by, or obtained from any Party or Non-Party during

discovery in this Action.

       2.5     Expert and/or Consultant: A person who has been retained by a Party or its Counsel

to serve as an expert witness or as a consultant in this Action, along with his or her employees and

support personnel, and who is not currently an employee of a Party and who, at the time of

retention, is not anticipated to become an employee of a Party. This definition includes a

professional jury or trial consultant retained in connection with this Action.

       2.6     Highly Confidential Material: Any Producing Party may, subject to the provisions

of this Order, designate any Discovery Material as “Highly Confidential” if the Producing Party

reasonably and in good faith believes the Discovery Material contains current trade secrets, current

and future business and marketing plans, current and future research and development activities,

commercial agreements with third parties containing competitively sensitive information, and the


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negotiations concerning such agreements, or other information that the Producing Party reasonably

and in good faith believes the disclosure of which would result in competitive, commercial, or

financial harm to the Producing Party or its personnel, clients, or customers.

          2.7    In-House Counsel: Attorneys and other personnel employed by a Party to perform

or support legal functions, to whom disclosure of Discovery Material is reasonably necessary in

connection with the prosecution or defense of this Action.

          2.8    Non-Party: Any natural person or entity that is not a named party to the Action.

          2.9    Outside Counsel: Attorneys, along with their paralegals and other support

personnel assisting them with this Action (including temporary or contract staff), who are not

employees of a Party but who have been retained to represent or advise a Party in connection with

this Action.

          2.10   Party: Any party to the Action, including all of its officers, directors, and

employees.

          2.11   Privileged Material: Discovery Material protected from disclosure under the

attorney-client privilege, the work-product doctrine, and/or any other applicable United States or

foreign law, regulation, privilege, or immunity from disclosure.

          2.12   Producing Party: Any Party or Non-Party that produces Discovery Material in this

Action.

          2.13   Professional Vendors: Persons or entities that provide litigation support services

(e.g., photocopying; videotaping; translating; preparing exhibits or demonstrations; organizing,

storing, or processing data in any form or medium; etc.) and their employees and subcontractors.

          2.14   Protected Material: Any Discovery Material that is designated as “Confidential” or

“Highly Confidential,” provided however that “Protected Material” does not include information




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that is publicly available (unless such information became publicly available as a result of a breach

of this Order or any other confidentiality agreement or undertaking).

       2.15    Receiving Party: Any Party or Non-Party that receives Discovery Material from a

Producing Party.

3.     SCOPE

       The protections conferred by this Order and the limitations on the use of information

obtained during the course of discovery in this Action as set forth in this Order cover not only

Discovery Material, but also any information copied or extracted therefrom, including any copies,

excerpts, summaries, or compilations thereof, as well as testimony, conversations, or presentations

by Parties or Counsel in settings that might reveal Protected Material. However, except as set

forth in Section 12.3, this Order shall not be construed to cause any Counsel to produce, return,

destroy, and/or sequester their own work product created in anticipation of or in connection with

this Action. This Order does not govern the use of Protected Material at trial; in the event this

Action goes to trial, the Parties shall work with the Court to develop a process to address any

Protected Material a Party reasonably believes should not become part of the public record,

consistent with Section 13 of this Order.

4.     DURATION

       The obligations imposed by this Order shall remain in effect until the Designating Party

agrees otherwise in writing or this Court orders otherwise.

5.     DESIGNATING PROTECTED MATERIAL

       5.1     Designating Bulk Material for Protection: In order to expedite production of

voluminous materials, a Designating Party may, but is not required to, produce materials without

a detailed review, subject to the “claw back” procedures in this Order (Section 12) or as otherwise

agreed. In doing so, the Designating Party may designate those collections of documents that by


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their nature contain Protected Material with a particular confidentiality designation,

notwithstanding that some of the documents within the collection may not qualify for such

designation. The materials that may be so designated shall be limited to such categories as the

Parties agree to in writing or the Court orders. Notwithstanding the foregoing, a Receiving Party

may at any time, when it has a good faith basis for believing that one or more particular documents

do not contain Protected Material, challenge the designation of one or more particular documents

on the grounds that it or they does not or do not qualify for protection, or does not or do not qualify

for the level of protection initially asserted. If the Designating Party agrees, it must promptly

notify all Receiving Parties that it is withdrawing or changing the designation.

       5.2     Manner and Timing of Designations: Except as otherwise provided in this Order,

or as otherwise stipulated or ordered, material that qualifies for protection under this Order must

be clearly so designated before the material is disclosed or produced. Designation in conformity

with this Order requires:

               (a)     For information in non-native documentary form, that the Producing Party

affix the legend “Confidential” or “Highly Confidential” on the document, and include the

applicable designation in the metadata produced for such document. A Party or Non-Party that

makes original documents or materials available for inspection need not designate them for

protection until after the inspecting Party has indicated which material it would like copied and

produced. During the inspection and before the designation, all of the material made available for

inspection shall be deemed “Highly Confidential.” After the inspecting Party has identified the

documents it wants copied and produced, the Producing Party must determine which documents,

or portions thereof, qualify for protection under this Order. Then, before producing the specified




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documents, the Producing Party must affix the “Confidential” or “Highly Confidential” legend to

each page that contains Protected Material.

                (b)     For documents produced in native format, that the Producing Party include

the confidentiality designation “Confidential” or “Highly Confidential” in the metadata produced

for such documents and on the placeholder page to which a Bates stamp is affixed.

                (c)     For deposition transcripts, deposition exhibits, and/or testimony in this

Action’s other pretrial proceedings, that the Designating Party designate any portions of the

testimony as “Confidential” or “Highly Confidential” (i) on the record of the deposition or (ii) on

or before the later of (a) thirty (30) calendar days after receipt of the final transcript, or (b) the date

by which any review by the witness and statement of changes to the transcript are to be completed

under Fed. R. Civ. P. 30(e). Only those portions of the testimony that are designated for protection

in accordance with the preceding sentence shall be Protected Material under the provisions of this

Order. The entire testimony shall be deemed to have been designated Confidential until the time

within which the transcript may be designated has elapsed. If testimony is not designated within

the prescribed time period, then such testimony shall not be deemed Protected Material except as

ordered by the Court or as provided in Section 5.3 (Inadvertent Failures to Designate). If all or a

part of a videotaped deposition is designated as “Confidential” or “Highly Confidential,” the DVD,

plus any container, shall be so labeled. If there is a dispute arising from the confidentiality

designation of testimony given in deposition or in other pretrial or trial proceedings, the Parties

shall meet and confer in an attempt to resolve the dispute.

                (d)     For information produced in electronic, audio, or video format, and for any

other tangible items, that the Producing Party affix the legend “Confidential” or “Highly

Confidential” in a prominent place on the exterior of the container or containers in which the




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information or item is stored and/or on the document. Whenever a Receiving Party to whom

electronically stored discovery material so designated is produced reduces such information to

hard copy form, to the extent such pages have not previously been marked by the Producing Party,

such Receiving Party shall mark the hard copy by affixing the designation “Confidential” or

“Highly Confidential” to each page of such document.

               (e)    For interrogatory answers and responses to requests to admit and the

information contained therein, that the Producing Party affix the legend “Confidential” or “Highly

Confidential” in a prominent place on each page of such document prior to production.

               (f)    For reports created by an expert or consultant relying on or incorporating

Protected Material in whole or in part, that the Party responsible for its creation include the

confidentiality designation “Confidential” or “Highly Confidential” on the report.

       5.3     Inadvertent Failures to Designate: If a Producing Party discovers that it produced

material that was not designated as Protected Material, the Producing Party may promptly notify

all Receiving Parties, in writing, of the error and identify (by production number) the affected

material and its new designation. Thereafter, the material so designated shall be treated as

Protected Material in conformity with the new designation. Promptly after providing such notice,

the Producing Party shall provide re-labeled copies of the material to each Receiving Party

reflecting the change in designation. Each Receiving Party shall make reasonable efforts following

correction of a designation to timely ensure that the material is treated in accordance with the

provisions of this Order, and to delete and replace the incorrectly designated material, and all

copies thereof, with the newly designated material and to destroy the incorrectly designated

material. To the extent such information may have been disclosed to anyone not authorized to

receive Protected Material under the terms of this Order, the Receiving Party shall make reasonable




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efforts to retrieve the Protected Material promptly and to avoid any further disclosure. If corrected,

an inadvertent failure to designate information or documents as Protected Material does not waive

the Producing Party’s right to secure protection under this Order for such material.

       5.4     Different Levels of Treatment: In the event that more than one Designating Party

designates the same Protected Material with different levels of treatment or confidentiality, all

copies of the Protected Material shall by treated as having the highest level of confidentiality

designated by any Designating Party pending any challenge to the confidentiality designation as

provided for in Section 6.

       5.5     Upward Designation of Information or Documents Produced by Other Parties or

Non-Parties: A Party or Non-Party may upward designate (i.e., change any Discovery Material

produced without a designation of Protected Material to Protected Material) any Discovery

Material produced by another Party or Non-Party, provided that said Discovery Material contains

the upward designating Party’s or Non-Party’s Protected Material. Upward designation shall be

accomplished by providing written notice to all Parties identifying (by production number or other

individually identifiable information) the Discovery Material to be re-designated. Any Party may

object to the upward designation of Discovery Material pursuant to the procedures set forth in

Section 6 regarding challenging designations.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Producing Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the Action, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.


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       6.2     Meet and Confer: If a Party elects to challenge a Designating Party’s confidentiality

designation, it must do so in good faith and must begin the process by notifying the Designating

Party in writing of its challenge and identifying the challenged material with as much specificity

as reasonably practicable, including, for example, by production number, and by providing a basis

for the challenge. The objecting Party and the Designating Party shall, within ten (10) business

days after service of the written objections, meet and confer concerning the objection, unless

otherwise agreed.

       6.3     Judicial Intervention: If the Parties are not able to resolve a dispute about a

confidentiality designation during the meet-and-confer process set forth in Section 6.2, the Party

challenging the designation may seek relief from the Court in accordance with its rules and

procedures. Until the Court rules on the dispute, all Parties shall continue to afford the material in

question the level of protection to which it is entitled under the Designating Party’s designation.

In the event the Court rules that the challenged material’s designation should be changed, the

Parties shall immediately treat the material in accordance with the Court’s change in designation,

and the Designating Party shall reproduce copies of all materials with their designations changed

in accordance with the ruling within ten (10) business days of the ruling.

7.     ACCESS TO AND USE OF DISCOVERY MATERIAL

       7.1     Subject to any other written agreement among or between Producing Parties and/or

Receiving Parties, a Receiving Party may access or use Discovery Material that is disclosed or

produced by a Producing Party only in connection with the prosecution of, defense of, appeal of,

attempted settlement of, or the enforcement of insurance rights with respect to this Action. Except

as required by law, Discovery Material may not be used for any other purpose, including, without

limitation, any business or commercial purpose, contractual demands, any purpose related to any

other investigation, action or proceeding, or evaluation of other potential claims not asserted in the


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Action. Following the termination of this Action, each Receiving Party must comply with the

provisions of Section 10.

       7.2     The recipient of any Protected Material shall maintain such material in a secure and

safe area and shall exercise a standard of due and proper care with respect to the storage, custody,

use, and/or dissemination of the material sufficient under all applicable laws to safeguard against

unauthorized or inadvertent disclosure of such material. Protected Material shall not be copied,

reproduced, extracted, or abstracted, except to the extent that such copying, reproduction,

extraction, or abstraction is reasonably necessary for the conduct of these Actions. All such copies,

reproductions, extractions, and abstractions shall be subject to the terms of this Order and labeled

in the same manner as the designated material on which they are based.

       7.3     Disclosure of Confidential Material: Unless otherwise ordered by the Court or

permitted in writing by the Designating Party, material designated “Confidential” may be disclosed

by a Receiving Party only to the following persons:

               (a)     The Receiving Party’s Counsel, including all attorneys, paralegals,

secretaries, clerical, regular and temporary employees, and service vendors of such counsel

(including outside copying and litigation support services) who are assisting with the prosecution

or defense of this Action;

               (b)     In addition to In-House Counsel, and to the extent that such disclosure is

reasonably necessary in connection with the prosecution or defense of this Action, current officers,

directors, general partners, management personnel, or employees of each Receiving Party who

have signed the “Agreement To Be Bound By Protective Order” (Exhibit A);

               (c)     Experts and/or Consultants retained by a Party or its Counsel to serve as an

expert witness or as a consultant in this Action, and service vendors of such Experts or Consultants




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(including outside copying services and outside support services), who have signed the

“Agreement To Be Bound By Protective Order” (Exhibit A), provided that Counsel, in good faith,

requires their assistance in connection with this Action, and provided further that any part of a

report created by such Expert and/or Consultant incorporating Confidential Material in whole or

in part shall be designated appropriately by the Party responsible for its creation, and provided

further that Experts and/or Consultants may not use Confidential Material for any purpose that

does not relate to the prosecution or defense of this Action;

               (d)     The Court and its personnel, subject to the requirements of Section 9;

               (e)     Special masters, mediators, or other third parties who are appointed by the

Court or retained by the Parties for settlement purposes or resolution of discovery or other disputes

and their necessary personnel and, in the case of persons retained by the Parties, who have signed

the “Agreement To Be Bound by Protective Order” (Exhibit A);

               (f)     Court reporters and/or videographers, their staff, and Professional Vendors

to the extent that such disclosure is reasonably necessary for the prosecution or defense of this

Action;

               (g)     The author, addressees, or actual or intended recipients of the document, or

any other natural person who reviewed or had access to such document during his or her

employment as a result of the substantive nature of his or her employment position, or who is

specifically identified in the document or its accompanying metadata;

               (h)     A witness or deponent, and their counsel, who has been subpoenaed or

noticed for deposition, trial testimony, or other court proceeding in the Action not otherwise

authorized to view the Protected Material in question, during that witness’s testimony at a

deposition, hearing, or trial in the Action, or in preparation for the same;




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                 (i)    Any other person agreed to by the Designating Party in writing; and

                 (j)    Any other person to whom the Court compels disclosure of the Confidential

Material or to whom disclosure is required by law, subject to the requirements of Section 14.

Any disclosure permitted by this Section may be made only to the extent reasonably necessary to

prosecute or defend this Action.

           7.4   Disclosure of Highly Confidential Material: Unless otherwise ordered by the Court

or permitted in writing by the Designating Party, material designated “Highly Confidential” may

be disclosed by a Receiving Party only to the following persons:

                 (a)    The Receiving Party’s Counsel, including all attorneys, paralegals,

secretaries, clerical, regular and temporary employees, and service vendors of such counsel

(including outside copying and litigation support services) who are assisting with the prosecution

or defense of this Action;

                 (b)    Richard Grottheim of Sjunde AP-Fonden and Carl Pecoraro of The

Cleveland Bakers and Teamsters Pension Fund;

                 (c)    Experts and/or Consultants retained by a Party or its Counsel to serve as an

expert witness or as a consultant in this Action and who have signed the “Agreement To Be Bound

By Protective Order” (Exhibit A), provided that Counsel, in good faith, requires their assistance in

connection with this Action, and provided further that any part of a report created by such Expert

and/or Consultant incorporating Highly Confidential Material in whole or in part shall be

designated appropriately by the Party responsible for its creation, and provided further that Experts

and/or Consultants may not use Highly Confidential Material for any purpose that does not relate

to this Action (including but not limited to other litigations and other work in their respective

fields);




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               (d)       The Court and its personnel, subject to the requirements of Section 9;

               (e)       Special masters, mediators, or other third parties who are appointed by the

Court or retained by the Parties for settlement purposes or resolution of discovery or other disputes

and their necessary personnel and, in the case of persons retained by the Parties, who have signed

the “Agreement To Be Bound by Protective Order” (Exhibit A);

               (f)       Court reporters and/or videographers, their staff, and Professional Vendors

to the extent that such disclosure is reasonably necessary for this Action;

               (g)       The author, addressees, or actual or intended recipients of the document, or

any other natural person who reviewed or had access to such document during his or her

employment as a result of the substantive nature of his or her employment position, or who is

specifically identified in the document or its accompanying metadata;

               (h)       A witness or deponent, and their counsel, who has been subpoenaed or

noticed for deposition, trial testimony, or other court proceeding in the Action not otherwise

authorized to view the Protected Material in question, during that witness’s testimony at a

deposition, hearing, or trial in the Action, or in preparation for the same. Any such person is not

permitted to retain the Highly Confidential Material after being examined regarding the Highly

Confidential Material.

               (i)       Any other person agreed to by the Designating Party in writing; and

               (j)       Any other person to whom the Court compels disclosure of the Highly

Confidential Material or to whom disclosure is required by law.

       7.5     Retention of Exhibit A: Counsel for the Party that obtains the signed “Agreements

to Be Bound By Protective Order” (Exhibit A), as required above, shall retain them for six (6)




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months following the final termination of this Action, including any appeals, and shall make them

available to other Parties, Non-Parties, or the Court upon good cause shown.

       7.6     Retention of Protected Material: Unless otherwise agreed to by the Producing Party

in writing or ordered by the Court, persons described in Sections 7.3(g), (h), and (i) and Section

7.4(i) who have been shown Protected Material shall not retain copies thereof longer than

reasonably necessary in light of the purpose for which the Protected Material was disclosed.

8.     UNAUTHORIZED DISCLOSURE BY A RECEIVING PARTY

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Order, the Receiving Party

must, as soon as practicable, but in any event, not longer than five (5) business days after discovery

of the disclosure by Counsel: (i) notify in writing the Designating Party of the unauthorized

disclosure(s), (ii) make commercially reasonable efforts to retrieve all copies of the Protected

Material, (iii) inform the person or persons to whom unauthorized disclosure(s) were made of all

the terms of this Order, and (iv) request such person or persons to execute the “Agreement To Be

Bound By Protective Order” (Exhibit A).

9.     FILING PROTECTED MATERIAL

       9.1     In the event that Counsel for any Party determines to file or submit in writing to the

Clerk of Court’s office or file on ECF any Protected Material that contains information satisfying

the five categories of “sensitive information” or six categories of information requiring caution

under the Southern District of New York’s ECF Privacy Policy, or any papers containing or

making reference to the substance of such material or information, such documents or portions

thereof containing or making reference to such material or information shall be filed in redacted

form or under seal in accordance with the rules of the Court.




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       9.2     In the event that Counsel for any Party determines to file or submit in writing to the

Clerk of Court’s office or file on ECF any Protected Material that contains information not

satisfying the five categories of “sensitive information” or six categories of information requiring

caution under the Southern District of New York’s ECF Privacy Policy, Counsel shall apply to the

Court for permission to file the relevant Protected Material (or portions thereof) under seal or in

redacted form in accordance with paragraphs 7.B and 7.C of the Court’s Individual Rules of

Practice. However, the Party seeking to file the Protected Material with the Court may seek written

permission from the Producing Party to file such Protected Material in the public record.

       9.3     Filing Protected Material under seal or seeking permission to file Protected Material

under seal shall be without prejudice to any Party’s right to argue to the Court that such document

is not Protected Material and/or need not be filed under seal.

10.    FINAL DISPOSITION

       10.1    In the event that: (i) all Parties to the Action reach a settlement resolving all of the

then pending claims among them, or (ii) any court enters an order resolving all of the then pending

claims among the Parties, except as provided below, the provisions of this Order restricting the

use of Protected Material shall continue to be binding unless otherwise agreed or ordered by the

Court. Upon entry of final judgment either by reason of settlement or court order, each Receiving

Party shall undertake commercially reasonable efforts to prevent anyone acting on its behalf from

accessing, reviewing, copying, summarizing, or making any other use of a Producing Party’s

Discovery Material, including but not limited to directing the Receiving Party’s discovery

vendor(s) to take data offline or to take other steps to prevent access to the Discovery Material.

       10.2    Except as provided by law or other regulatory authority or unless otherwise ordered

or agreed to in writing by the Producing Party, within sixty (60) days after the final termination of

this Action by settlement or exhaustion of all appeals, all parties in receipt of Protected Material


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shall use reasonable efforts to either return such materials and copies thereof to the Producing

Party or destroy such Protected Material and certify that fact. The Receiving Party's reasonable

efforts shall not require the return or destruction of Protected Material from (i) disaster recovery

or business continuity backups, (ii) data stored in system-generated temporary folders or near-line

storage, (iii) archived data with limited end-user accessibility, and/or (iv) material that is subject

to legal hold obligations or commingled with other such material. Backup storage media will not

be restored for purposes of returning or certifying destruction of Protected Material, but such

retained information shall continue to be treated in accordance with the Order.

       10.3    Counsel for the parties shall be entitled to retain copies of court papers (and exhibits

thereto), correspondence, pleadings, deposition and trial transcripts (and exhibits thereto), legal

memoranda, expert reports, and attorney work product that contain or refer to Protected Material,

provided that such counsel and employees of such Counsel shall not disclose such Protected

Material to any person, except pursuant to court order. Nothing shall be interpreted in a manner

that would violate any applicable canons of ethics or codes of professional responsibility.

       10.4    This Order shall survive the termination of this Action, and this Court shall have

continuing jurisdiction for enforcement of its provisions following termination of this Action. No

part of the restrictions imposed by this Order may be waived or terminated, except by written

stipulation executed by Counsel for each Designating Party or by an Order of the Court for good

cause shown.

11.    A DESIGNATING OR PRODUCING PARTY’S USE OF ITS OWN DOCUMENTS

       Nothing in this Order shall be construed to limit in any way any Producing Party’s,

Receiving Party’s, or any other person’s use of its own documents, including documents obtained

independently and lawfully from sources other than a Producing Party, nor shall it affect any




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Producing Party’s, Receiving Party’s, or any other person’s subsequent waiver of its own prior

designation with respect to its own Protected Material.

12.    CLAW BACK OF PRIVILEGED MATERIAL

       12.1    If the Producing Party inadvertently discloses Privileged Material, the disclosure of

that Privileged Material will not constitute or be deemed a waiver or forfeiture—in this or any

other action—of any claim of privilege, work product, and/or any other applicable United States

or foreign law, regulation, privilege, or immunity from disclosure. This Order shall be interpreted

to provide the maximum protection allowed to the Producing Party by Fed. R. Evid. 502(d). The

provisions of Fed. R. Evid. 502(b)(2) are inapplicable to the production of Privileged Material

under this Order. However, if for any reason the Court finds that this Section is inapplicable to

Privileged Material, then Fed. R. Evid. 502(b) will apply in its absence. In order to claw back

Privileged Material that was produced inadvertently, the Producing Party must provide notice in

writing to the Receiving Party specifying the production number of the Discovery Material it

wishes to claw back, and the basis of the claim that it is Privileged Material.

       12.2    Upon notice that a Producing Party wishes to claw back Discovery Material as

protected Privileged Material that was produced inadvertently, the Receiving Party shall promptly

undertake commercially reasonable efforts to return the Discovery Material to the Producing Party

and destroy all summaries or copies of such Privileged Material, shall provide notice in writing

that all such information and copies of information have been returned or destroyed, and shall not

use such items for any purpose until further order of the Court. In all events, such return,

destruction, and certification must occur within ten (10) business days of receipt of the request.

Within ten (10) business days of the notification that reasonable efforts have been taken to return

or destroy the Privileged Material, the Producing Party shall produce a privilege log with respect

to the Privileged Material. The return of any Discovery Material to the Producing Party shall not


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in any way preclude the Receiving Party from moving the Court for a ruling that the disclosed

information was never privileged; however, the Receiving Party may not assert as a basis for the

relief it seeks the fact or circumstance that such documents previously were produced. Alleged

Privileged Material shall remain protected against disclosure and use during the pendency of any

dispute over its status.

        12.3    If, during a deposition, a Party claims that a document being used in the deposition

(e.g., marked as an exhibit, shown to the witness, or made the subject of examination) contains

Privileged Material, the Party may at its sole election (i) allow the document to be used during the

deposition without waiver of its claim of privilege or protection; or (ii) instruct the witness not to

answer questions concerning the parts of the document containing the claimed Privileged Material

pending a prompt resolution of any disagreement concerning whether the document constitutes or

contains Privileged Material. If the Party allows the examination concerning the document to

proceed on a nonwaiver basis, the Parties shall return or destroy all copies of the purportedly

privileged document pursuant to Section 12.2. Immediately following the deposition, the Parties

will commence the procedure, including the notice and log requirements, outlined in this Section

to address the claim of privilege or other protection and any related disputes. Until any such

disputes are resolved, all Parties who have access to the transcript of such deposition shall treat

the relevant portion(s) of the transcript as Privileged Material.

13.    USE OF DESIGNATED MATERIAL AT TRIAL OR PRE-TRIAL HEARINGS

        The undersigned agree to meet and confer concerning the use of any Protected Material at

the trial of this Action during preparation of the Joint Pretrial Order to be submitted in accordance

with the Court’s Individual Rules and Practices and Fed. R. Civ. P. 26(a)(3). (See February 26,

2021 Scheduling Order (ECF No. 211) ¶ 14.) If any undersigned Party contemplates the use of

Protected Material at any pre-trial hearing, such Party shall notify all Parties of such intent not


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fewer than five (5) business days prior to the hearing. Where a hearing is scheduled on less than

five (5) business days’ notice, the Parties agree to meet and confer as soon as practicable after

receiving notice, but in any event, not fewer than 24 hours in advance of the hearing and if

unsuccessful, shall present the issue to the Court for resolution. The use of Protected Material at

hearings or at trial shall not cause such Protected Material to lose its status as Protected Material.

14.    LEGAL PROCESS

       14.1    If a Receiving Party is served with a discovery request, subpoena, or an order issued

in other litigation, or receives some other form of legal process or request from any court, federal,

or state regulatory or administrative body or agency, legislative body, self-regulatory organization,

or other person or entity purporting to have authority to require the production thereof, that seeks

disclosure of any information or items designated in this Action as Protected Material the

Receiving Party must notify—to the extent permitted by law and the rules, requirements, or

requests of any relevant governmental or self-regulatory organization—the Designating Party, in

writing (by electronic mail, if possible), and include with that notice a copy of the discovery

request, subpoena, order, or other form of legal process as soon as reasonably practicable and in

any event no later than five (5) business days after receipt unless production is required earlier

than ten (10) business days after receipt, in which case the notice must be made in time for the

Designating Party to take steps as set forth below.

       14.2    The Receiving Party also must promptly inform the party that caused the discovery

request, subpoena, order, or other form of legal process or request to issue that some or all of the

material covered by the subpoena or order is the subject of this Order. In addition, the Receiving

Party must deliver a copy of this Order promptly to the party in the other matter that caused the

discovery request, subpoena, order, or other form of legal process or request to issue. To the extent

consistent with the rules, requirements, or requests of any relevant governmental or self-regulatory


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organization, the Receiving Party shall not produce the requested Protected Material unless and

until a court of competent jurisdiction so directs, except if the Designating Party (a) consents, or

(b) fails to file a motion to quash or fails to notify the Receiving Party in writing of its intention to

contest the production of the Protected Material prior to the date designated for production of the

Protected Material, in which event the Receiving Party may produce on the production date, but

no earlier. In connection with any production of Protected Material subject to this Order, the

Receiving Party shall request confidential or highly confidential treatment for such materials.

        14.3    The purpose of imposing these duties is, to the extent consistent with the rules,

requirements, or requests of any relevant governmental or self-regulatory organization, or

otherwise permitted by law, to alert the interested parties to the existence of this Order and to

afford the Designating Party an opportunity to try to protect its confidentiality interest in the matter

or proceeding in connection with which the discovery request, subpoena, or order is issued. The

Designating Party shall bear the burdens and the expenses of seeking protection in that matter or

proceeding of its Protected Material. Nothing in these provisions should be construed as

authorizing, requiring, or encouraging a Receiving Party to disobey, or to risk contempt of, a lawful

directive from another court.

        14.4    In the event that Discovery Material is produced to a Non-Party as a result of a

discovery request, subpoena, or an order issued in other litigation, or some other form of legal

process from any court, federal or state regulatory or administrative body or agency, legislative

body, or other person or entity, such Discovery Material shall continue to be treated in this Action

in accordance with any designation as Protected Material.

15.    NON-PARTIES

        15.1    Any Party, in seeking discovery from Non-Parties in connection with this Action,

shall provide any Non-Party from which it seeks discovery with a copy of this Order so as to


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inform each such Non-Party of his, her, or its rights herein. If a Non-Party provides discovery to

any Party in connection with this Action, the provisions of this Order shall apply to such discovery

as if such discovery were being provided by a Party. Under such circumstances, the Non-Party

shall have the same rights and obligations under the Order as held by the Parties to this Action.

16.      NOTICES

         All notices required by this Order must be provided in writing to Outside Counsel of record

for each Party and, if applicable, in writing to a Non-Party. Any of the notice requirements herein

may be waived, in whole or in part, but only in writing by an attorney for the Designating Party.

17.      AMENDMENT OF ORDER

         Nothing herein shall preclude any Party from seeking to amend this Order in writing for

good cause shown or through agreement of the Parties to this Order. Nor shall anything herein

preclude any Party or Non-Party from seeking additional or different protections on a case-by-case

basis.

18.      RIGHT TO ASSERT OTHER OBJECTIONS

         By stipulating to the entry of this Order, no Producing Party waives any right it otherwise

might have to object to disclosing or producing any information or item on any ground, including

confidentiality. Similarly, no Producing Party waives any right to object on any ground to the

admissibility or use in evidence of any of the material covered by this Order.

19.      GOVERNING LAW

         Except to the extent that federal law may be applicable, this Order is governed by,

interpreted under, and construed and enforced in accordance with the laws of the State of New

York, without regard to conflict of law principles. Any dispute between the parties regarding this

Order shall be resolved by making an appropriate application to this Court in accordance with the

Rules of the Court and other applicable rules.


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20.    EXECUTION

       This Stipulation and Order may be executed in counterparts. This Stipulation and Order

shall become effective as a stipulation as among the executing Parties immediately upon its

execution by such executing Parties, subject to any subsequent modifications if and when so-

ordered by the Court. Execution of this Stipulated Protective Order shall not constitute a waiver

of the right of any Party to claim in this Action or otherwise that any document, communication,

or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible in evidence

in this Action or any other proceeding.




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           Dated: July 14, 2021

                                                          /s/ Sharan Nirmul
                                                          Sharan Nirmul
                                                          KESSLER TOPAZ MELTZER & CHECK, LLP
                                                          280 King of Prussia Road
                                                          Radnor, PA 19087
                                                          Telephone: (610) 667-7706
                                                          Facsimile: (610) 667-7056
                                                          Email: snirmul@ktmc.com

                                                          Counsel for Lead Plaintiff Sjunde AP-Fonden

                                                          /s/ Daniel Berger
                                                          Daniel Berger
                                                          GRANT & EISENHOFER P.A.
                                                          485 Lexington Avenue
                                                          New York, NY 10017
This stipulation binds the parties to treat as            Telephone: (646) 722-8500
confidential the documents so classified. This Court,     Facsimile: (610) 722-8501
however, has not reviewed the documents referenced        Email: dberger@gelaw.com
herein; therefore, by so-ordering this stipulation, the
Court makes no finding as to whether the documents        Counsel for Additional Plaintiff The Cleveland
are confidential. That finding will be made, if ever,     Bakers and Teamsters Pension Fund
upon a document-by-document review pursuant
to the procedures set forth in the Court’s Individual     /s/ Blake T. Denton
Rules and Practices and subject to the presumption in     Blake T. Denton
favor of public access to “judicial documents.” See       LATHAM & WATKINS LLP
generally Lugosch v. Pyramid Co. of Onondaga, 435         1271 Avenue of the Americas
F.3d 110, 119-20 (2d Cir. 2006). To that end, the         New York, NY 10020
Court does not “so order” any provision to the extent     Telephone: (212) 906-1200
that it purports to authorize the parties to file         Facsimile: (212) 751-4864
documents under seal without a prior court order. See     Email: blake.denton@lw.com
New York ex rel. Khurana v. Spherion Corp., No. 15-
CV-6605 (JMF), 2019 WL 3294170 (S.D.N.Y. July             Counsel for Defendants General Electric Company
19, 2019).                                                and Jeffrey S. Bornstein


           SO ORDERED

                      July 15
           Dated: ___________________, 2021

                                                          ______________________________________
                                                          Honorable Jesse M. Furman
                                                          United States District Judge



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                                           Exhibit A

                        Agreement To Be Bound By Protective Order

       I have been informed that on                         , 2021, the U.S. District Court for the

Southern District of New York entered a protective order in the consolidated litigation captioned

Sjunde AP-Fonden, et al. v. General Electric Co., et al., No. 17-cv-8457 (JMF). I have read the

protective order, I agree to abide by the terms of the protective order as they apply to me, and I

acknowledge that failure to so comply with the protective order could expose me to sanctions and

punishment in the nature of contempt of court. I further agree to voluntarily submit to the

jurisdiction of the U.S. District Court for the Southern District of New York for purposes of any

proceeding related to the protective order, including my receipt or review of information that has

been designated as “CONFIDENTIAL” and “HIGHLY CONFIDENTIAL.”




                                             (Signature)


                                             (Printed Name)


                                             (Title or Position)


                                             (Company)

                                             Dated: _______________________
